Case 1:14-cv-00648-TCB Document 52-6 Filed 12/03/14 Page 1 of 8 PagelD# 365

6G 900725
po”

Title and Identification No. Make Model Code | Body/Hull Document No.
WBA6B4C53DD097953 | BMW 6XD 4DsD 894605C

EY NoPe LA Spo pC PRIS Obs Fac hons)

WL/Sis./igth. | Fuel . | New or Used | Type of Title Date Issued
4605 | GA NEW | VEHICLE .....'12/07/12

Name and Address of Owner(s) ODOMETER READING: —_
FINANCIAL SERVICE
VEHICLE TRUST eae weno nm a oy Xela

5550 BRITTON PKWY

HILLIARD OH | 43026

\
This document is your proot of ownership for this v i
it in a safe place, not with your license or registratg™f or in your vehicle or boat. To dispose jt}
of your vehicle, boat or manufactured home, com sfer section on the back and sii'y
give this title to the new owner.

Lienholder Lienholder= = ——s—s—SSCST:

EEN OPM TRG Pie oeera ey ae PLE oMn TAT lessees) ne

Lienholder Lienholder

oi NOL RER BANGS) 454116 18D) 48) ON Fo 58 O09 8)

MV-999 (1/11)

Case 1:14-cv-00648-TCB Document 52-6 Filed 12/03/14 Page 2 of 8 PagelD# 366

* ANY CHANGE OR ERASURE WILL VOID THIS TITLE -- ANY FALSE STATEMENT IS A MISDEMEANOR
, SECTION | - Transfer by Owner = /:
ODOMETER DISCLOSURE STATEMENT ~* =

Note: This vehicle cannot be registered or titled in the name of the new owner unless pide is disclosed. : : ; ODOMETER READING at
Federal and State Law require that you state the mileage of the vehicle described on this certificate when transferring ownership.
Failure to do so, or providing a false statement, may result in fines and/or imprisonment. :
| ify that, to the best of my knowledge, this odometer reading (check one): (no tenths)

1. reflects the ACTUAL MILEAGE as seen on the odometer of the vehicle described on the front. ODOMETER HAS SPACE FOR: (Check one)
(1 2. EXCEEDS MECHANICAL LIMITS (odometer started over at zero) \ {
O13. not the actual mileage. WARNING - ODOMETER DISCREPANCY.

DAMAGE DISCLOSURE STATEMENT (To be Completed by Owner Named on Face of Title)

| certify that, to the best of my Knowledge, this vehicle C1 has been ara not been wrecked, destroyed or damaged to such an extent that the total estimate

or actual cost of parts and labor to rebuild or reconstruct the vehicle to the condition it was in before an accident, and for legal operation on the road or highways,

\s more than 75% _of the retail value of the vehicle at the time of loss. (Checking the “has” box means that the vehicle must have an anti-theft examination before being
registered and that the title issued will have the statement “Rebuilt Salvage: NY” on it.)

lor we transfer the vehicle, boat or manufactured hog ed on this certificate. At the time of transfer, this title is subject only to the liens or encumbrances
listed on this certificate, if any. Lalso certify that thig emo: ent title issued for this vehicle, boat or manufactured home.

Note: Section 2113 of the Vehicle and Traffic Ai requires thapplication for a title must be made within 30 days of transfer.

OFive Digits, excluding tenths
LSix Digits “excluding tenths {

mgr Ecircie pe Cicero’ pap
SECTION II - Reassignment by Manufactured Home Dealer or Regj PMs De) or Out-of-State Dealer '

ODOMETER DISCLOSURE STATEMENT

Note: This vehicle cannot be registered or titled in the name of the new owner unless mileage is disclosed.
Federal and State Law require that you state the mileage of the vehicle described on this certificate whe
Failure to do so, or providing a false statement, may result in fines and/or imprisonment.
| certify that, to the best of my knowledge, this odometer reading (check one):

114. reflects the ACTUAL MILEAGE of the vehicle described on the front.

(0 2. EXCEEDS MECHANICAL LIMITS (odometer started over at zero)

O13. not the actual ae WARNING ODOMETER DISCREPANCY.

ODOMETER READING

ansferring ownership. ze

(no tenths)
£ ODOMETER HAS SPACE FOR: (Check one)
OFive Digits, excluding tenths _~
Csix Digits, excluding tenths
| or we transfer the vehicle, boat or manufactured home described on this certificate, At the time of transfer, this title is subject only to the liens or encumbrances
listed on this certificate, if any. | also cemtify that this is the most recent title issued for this vehicle, boat or manufactured home.
Note: Section 2113 of the Vehicle and Traffic Law requires that Ean for a title must be made within 30 —_ of transfer.

Seller's ae veg sitar
. see
‘Steet Aaess Serta City: =:

ibaa orc ste

Ruvere Serato

ee "
et Aaress

aps ey nes ae af

= ss

Boat Dealer’
MV-999 (1/11) ss jd 459 Facility #

Case 1:14-cv-00648-TCB Document 52-6 Filed 12/03/14 Page 3 of 8 PagelD# 367

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MEXWHOLESALE OR 0 RETAIL: RETAIL CERTIFICATE OF SALE
O New sed CL] Demo C1 Salvage 7 oo.

TYPE OF SALE ~ New York State Department of Motor Vehicles i ll

l

MN

VEHICLE INFORMATION: I Eliane id 7099067

Year Make Body Type Color Weight (Uniaden) Fuel Cylinders} Adult
Type: Seating
2913 | 4DSD WH 4605 — GAS __ {Capacity
Lien(s) Inspection Certificate Number Date of Inspection — spection Station Number __
2 | L@| NA ee NA 3
imber of Dealer Plate Loaned Lease Buyout «| Selling Price
N/A : O (Insp. Not Required)

DEALER INFORMATION Pros Name and Address)

CARRIAGE TRADERS _ 170° SARATOGA AV ENS FALLS N

PRIOR OWNER INFORMATION (Print Name a
BURDICK BMW oo

result in fines and/or imprisonm™®
ve has: a 5 digits [XX] 6 digits

Bn tha@peM@bacate, when transferring ownership. Failure to do so, or not
: [ODOMETER READING CS

au 2 5-6.
eee —

DEALER CERTIFICATION:

! certify: The vehicle described above was sold to the purchaser on! she date sicleauel: ‘At the time: of delivery the recht was entitled to register the vehich
requirements of the Commissioner's Regulations. At the time of delivery, such equipment was in ct oe i : i

Equipment certification does Tet apply to a vehicle sold as new, esol or r salva
statements made herein ar

DEALER (or authorized representative) - (SIGN full name) PRINT ful name of dealer erotathovied ee

| g2/20/2014 Facity
ss CARRIAGE TRADERS fea cee

PURCHASER - (SIGN full name) ) PRINT a name of purchaser Date eee
ealer

_ BALTIMORE WASHINGTON AUTO ‘oureey2e/2014 eos XX-XXXXXXX

ies ss, ANY CHANGE OR ALTERATION VOIDS THIS CERTIFICATE
Case 1:14-cv-00648-TCB Document 52-6 Filed 12/03/14 Page 4 of 8 PagelD# 368

' -s& a oe : x E ae
—_:_* ¥YPE OF SALE New York State Department of Motor Vehicles
EX WHOLESALE OR C1 RETAIL: - RETAIL CERTIFICATE OF SALE
New EkUsed 0] Demo DL Salvage

VEHICLE INFORMATION: No. 47099067

Year Make Model pes Body Type Color Weight (Uniaden) Fuel Cylinders ~
: aaa a ae ; T eatinc
2613 BMW 6 SERIES 4DsD WH 4605 Peas |g [Capacity
Vehicle Identification Number Lien(s) Inspection Certificate Number Date of Inspection Inspection Station Number
LW a alelolalcls|s bbb bp b 44 .@ | NA NA 7998339
Plate/Permit Number Number of Dealer Plate Loaned Lease Buyout Selling Price
N/A CL] (Insp. Not Required) |$ JA

DEALER INFORMATION (Print Name and Adaress)

CARRIAGE TRADERS 178 SARATOGA AVE BUTH GLENS FALLS NY 12893
PURCHASER INFORMATION (Print Name and, oe of

a a a a tae ale

BALTIMORE WASHINGTON AUTO OUTLI

2747 ANNAPOLIS RO HANOVER MD 237 82/20/2014
PRIOR OWNER INFORMATION (Print Name gership) Date of

BURDICK BMW INC Purchase

SUS N > A
— 5547 cast crReie Bb ctcepg wy 82/83/2014

ODOMETER DISCLOSURE STATEMENT

Federal and state laws require that you state the mileage of the veh
telling the truth about the mileage may result in fines and/or imprison

The odometer on the vehicle described above has: [__] 5 digits 6 digits,

ificate, when transferring ownership. Failure to do so, or not

ODOMETER READING

OF certify that, to the best of my knowledge, this odometer reading reflects the “ACTUA ” of the
vehicle described above. aie |" 2L25|. 8
O I certify that, to the best of my knowledge, this odometer reading “EXCEEDS MECHANIC, - (no tenths)

OI certify that, to the best of my knowledge, this odometer reading is “NOT THE ACTU LEAGE. WARNING: ODOMETER DISCREPANCY.”

DEALER CERTIFICATION:

! certify: The vehicle described above was sold to the purchaser on the date indicated. At the time of delivery the purchaser was entitled to register the vehicle. This vehicle complied gn equipment
requirements of the Commissioner’s Regulations. At the time of delivery, such equipment was in condition and repair to render satisfactory and adequate service on the public highway under normal use.
Equipment certification does not apply to a vehicle sold as new, wholesale, or salvage. All New York State and local taxes due as a result of this sale have been collected from the purchaser. False }.
statements made herein are punishable as a Class A misdemeanor pursuant to Section 210.45 of the Penal Law.

DEALER (or authorized representative) - (SIGN full name) | PRINT full name of dealer or authorized rep. Date Dealer ie
pe td : f O2/2o/emiaTey
et a el e i j CARRIAGE TRADERS ve TBI SRLS
PURCHASER - (SIGN full name) PRINT fulln name of purchaser Date Pee
ealer
: saa eae ea sg eae Sei iar ee NYS Sales “ae ta
BALTIMORE WASHINGTON AUTO OUP®@kF2¢/2G14 | Tax No. XX-XXXXXXX
PART 3 — CUSTOMER COPY

ANY CHANGE OR ALTERATION VOIDS THIS CERTIFICATE

MV-50 (03/04)
Case 1:14-cv-00648-TCB Document 52-6 Filed 12/03/14 Page 5 of 8 PagelD# 369

Case 1:14-cv-00648-TCB Document 52-6 Filed 12/03/14 Page 6 of 8 PagelD# 370

: TYPE OF SALE
EY WHOLESALE OR C RETAIL:

O01 New séd 01 Demo OI Salvage

VEHICLE INFORMATION: = styx ‘p25513ip

4S New York State Department of Motor Vehicles
©>°~ RETAIL CERTIFICATE OF SALE

46630436

HUN

Year * Make Model Body Type Color Weight (Uniaden) Fuel Cylinders} Adult
Type: Seating
2013 BMW _6XD 4DSD___| WH 4,609 " (} g [Capacity 5
Vehicle idarsficaion Numbe: Lien(s) Inspection oe ee Date of Inspection ___| Inspection Station Number
| BEE EE Rb ee tts NA NB 7006286

Plate/Permit Number —__ Number of Dealer Plate Loaned Ol Lease Buyout Selling Price
E (Insp. Not Required) | $ No

NA

N/A

DEALER INFORMATION & Print Name and Address)

BURDICK BMW INC

£ Circle Dr

Cicero, NY 13039

Date of

PURCHASER INFORMATION (Print Name and Te
CARRIAGE TRADERS 172 E GLENS FALLS, NY 12883-0000 2lalzo14
PRIOR OWNER INFORMATION (Print Name a ‘|Dateof

FINANCIAL SERVICES VEHICLE TRUST

TTON PKWY HILLIARD OH 43026 BI /27/14 —

ODOMETER DISCLOSURE STATEMENT

Federal and state laws require that you state the mileage of the vehi¢
telling the truth about the mileage may result in fines and/or imprisonn's

The odometer on the vehicle described above has: [_] 5 digits [WJ 6 digits
[PT certify that, to the best of my knowledge, this odometer reading reflects the

vehicle described above.

OI certify that, to the best of my knowledge, this odometer reading “EXCEEDS MECHANIC
O I certify that, to the best of my knowledge, this odometer reading is “NOT THE ACTU

ODOMETER READING

ate, when transferring ownership. Failure to do so, or not

210 12ilo} |

(no tenths)

LEAGE. WARNING: ODOMETER DISCREPANCY.”

DEALER CERTIFICATION:

fan0are

! certify: The vehicle described above was sold to the purchaser on the date indicated. At the time of delivery the purchaser was entitled to register the vehicle. This vehicle complied with equipment
requirements of the Commissioner’s Regulations. At the time of delivery, such equipment was in condition and repair to render satisfactory and adequate service on the public highway under normal use.
Equipment certification does not apply to a vehicle sold as new, wholesale, or salvage. All New York State and local taxes due as a result of iy sale have been gitcctes from the re False
statements made herein are punishable as a Class A misdemeanor pursuant to Section 210.45 of the Penal Law. z == :

DEALER (or authorized representative) - (SIGN full name) | PRINT full name of dealer or authorized rep.

“| Dealer

MV-50 (03/04)

oe ie cat

Date :
re
7BBES
Andrea Wallace 2la)oi4
/PRINT full name of purchaser Date ae
= 373

ANY CHANGE OR ALTERATION VOIDS THIS CERTIFICATE

Case 1:14-cv-00648-TCB Document 52-6 Filed 12/03/14 Page 7 of 8 PagelD# 371

Case 1:14-cv-00648-TCB Document 52-6 Filed 12/03/14 Page 8 of 8 PagelD# 372

